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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

IN RE EQUIFAX, INC. CUSTOMER                  MDL DOCKET NO. 2800
DATA SECURITY BREACH                          1:17-md-2800-TWT
LITIGATION
                                              CONSUMER CASES


                     ORDER AMENDING
          CASE MANAGEMENT ORDER FOR OPT-OUT CASES

      The Court has considered the motion filed by Defendants Equifax Inc.,

Equifax Information Services LLC, and Equifax Consumer Services LLC

(collectively, “Equifax”) seeking an amendment to the Case Management Order for

Opt-Out Cases (Dkt. No. 1216, as amended by Dkt. No. 1219). For good cause

shown, the Court orders as follows:

   1. Equifax shall file a consolidated reply in support of its Motion to Dismiss as

      to all Opt-Out Plaintiffs except Plaintiff Audella Patterson by February 28,

      2022 (being 30 days after the filing of Plaintiffs Joshpe’s and Khalaf’s

      oppositions).
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    2. Equifax shall file a reply in support of its Motion to Dismiss as to Plaintiff

       Patterson within 30 days after she files any opposition to Equifax’s Motion. 4

          SO ORDERED, this 29th day of April, 2022.


                                              _____________________________
                                              Honorable Thomas W. Thrash, Jr.
                                              United States District Judge




4
 Should the Court deny entirely Plaintiff Patterson’s pending motion for a stay and
extension, Equifax shall file its reply as to Patterson within 30 days of the Court’s
order denying her motion.
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